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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )
            vs.                          )               8:05CR237
                                         )
PATRICK SMITH,                           )         SCHEDULING ORDER
                                         )
                   Defendant.            )




      Before the Court is defendant’s Motion for Suitability Study/Motion to Set
Conditions of Release [21] requesting that Pretrial Services investigate the
proposed release plan.

      IT IS ORDERED that Pretrial Services investigate the proposed release
plan and provide a copy of their report to the Court and counsel on or before
Tuesday, July 19, 2005.

      DATED this 15th day of July, 2005.

                                      BY THE COURT:


                                      s/ F.A. Gossett
                                      United States Magistrate Judge
